179 F.2d 678
    50-1 USTC  P 9192
    ESTATE of Ella K. McCLATCHY, Deceased, and Eleanor McClatchyand Charlotte Maloney, Executrices, Petitioners,v.COMMISSIONER OF INTERNAL REVENUE, Respondent.Charlotte MALONEY, Petitioner,v.COMMISSIONER OF INTERNAL REVENUE, Respondent.Eleanor McCLATCHY, Petitioner,v.COMMISSIONER OF INTERNAL REVENUE, Respondent.
    Nos. 12289-12291.
    United States Court of Appeals Ninth Circuit.
    Feb. 13, 1950.
    
      John J. Hamlyn, Sacramento, Cal.  (Wentworth L. Kilgore, Sacramento, Cal., of counsel) for petitioners.
      Theron Lamar Caudle, Asst. Atty. Gen., Ellis N. Slack, Robert N. Anderson, Maryhelen Wigle and Irving I. Axelrad, Sp. Assts. to Atty. Gen., for respondent.
      Before MATTHEWS, HEALY and POPE, Circuit Judges.
      PER CURIAM.
    
    
      1
      Here for review are three decisions of the Tax Court- a decision holding that there was a deficiency of $8,639.38 in respect of the income tax of the estate of Ella K. McClatchy, deceased, for 1942, and that there was a deficiency of.$1,731.25 in respect of the income and victory tax of said estate for 1943; a decision holding that there was a deficiency of $213.54 in respect of the income and victory tax of Charlotte Maloney for 1943; and a decision holding that there was a deficiency of $2,904.43 in respect of the income and victory tax of Eleanor McClatchy for 1943.  The reasons for these decisions are well stated in the Tax Court's opinion (12 T.C. 370).  We agree with what is said in that opinion.  Accordingly, these decisions are affirmed.
    
    